Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20              Page 1 of 29 PageID 9060



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                    §
  AMERICA,                                         §
                                                   §
          Plaintiff and Counter-Defendant          §
                                                   §
  and                                              §
                                                   §
  WAYNE LAPIERRE,                                  §
                                                   § Civil Action No. 3:19-cv-02074-G
          Third-Party Defendant,                   §
                                                   §
  v.                                               §
                                                   §
  ACKERMAN MCQUEEN, INC.,                          §
                                                   §
          Defendant and Counter-Plaintiff,         §
                                                   §
  MERCURY GROUP, INC., HENRY
                                                   §
  MARTIN, WILLIAM WINKLER,
                                                   §
  MELANIE MONTGOMERY, and JESSE
                                                   §
  GREENBERG,
                                                   §
                                                   §
          Defendants.
                                                   §


       DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS

        Defendants Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William

Winkler, Melanie Montgomery, and Jesse Greenberg (collectively, “Defendants”) submit these

objections to the NRA’s declarations as follows:

                              I.   PRELIMINARY STATEMENT

        Defendants object to certain statements within the witness declarations that the NRA

(“Plaintiff” of “NRA”) submitted on May 4, 2020, in support of its Response (the “Response”) to

Defendants’ Motion to Disqualify NRA’s Counsel (the “Motion to Disqualify”). As demonstrated




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                              PAGE 1
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 2 of 29 PageID 9061



herein, these declarations are objectionable on numerous grounds. Defendants ask the Court to

sustain their objections and disregard the testimony.

                                   II. LEGAL STANDARDS

       1.      A declaration that is not based on personal knowledge and does not show an affiant

as competent to testify is inadmissible. See Mason v. AT&T Servs., No. 3:18-cv-00322-N (BT),

2019 U.S. Dist. LEXIS 165452, at *12-13 (N.D. Tex. Aug. 27, 2019); Petro-Hunt, L.L.C. v.

Williams-Southern Co., L.L.C., No. 3:13-CV-1588-P, 2016 U.S. Dist. LEXIS 186457, at *4 (N.D.

Tex. Jan. 6, 2016).

       2.      A witness may not testify to a matter unless evidence is introduced sufficient to

support a finding that the witness has personal knowledge of the matter, which factual foundation

may be proved from the witness’s own testimony. FED. R. EVID. 602; cf. FED. R. CIV. P. 56(c)(4).

Lay witness testimony fails the “personal knowledge” inquiry when the testimony contains

personal beliefs, conjecture, speculation, abstract legal arguments, factual conclusions,

unsubstantiated assertions, or improbable inferences. See Lujan v. National Wildlife Federation,

497 U.S. 871, 888 (1990) (holding that factual conclusions that are not supported by admissible

evidence in the form of specific facts are inadmissible).; United States v. Renda Marine, Inc., 667

F.3d 651, 655 (5th Cir. 2012) (disallowing “unsubstantiated assertions, improbable inferences, and

unsupported speculation”); Arrington v. Wal-Mart Stores Tex., LLC, No. 3:18-CV-1763-N, 2019

U.S. Dist. LEXIS 199176, at *3 (N.D. Tex. Nov. 18, 2019) (“lay witnesses cannot speculate”);

Weems v. Dall. Indep. Sch. Dist., 260 F. Supp. 3d 719, 726, 730 (N.D. Tex. 2017) (holding that

“conjecture, speculation, and subjective belief” were incompetent evidence).

       3.      When a lay witness affidavit is not based entirely upon personal knowledge, the

court is directed not to give any weight to those portions of the affidavit that are not based on




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                 PAGE 2
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                    Page 3 of 29 PageID 9062



personal knowledge. See Blanchard & Co. v. Heritage Capital Corp., Civil Action No. 3:97-CV-

0690-H, 1997 U.S. Dist. LEXIS 19395, at *2-3 (N.D. Tex. Dec. 1, 1997) (citing Richardson v.

Oldham, 12 F.3d 1373, 1378-79 (5th Cir. 1994)).

       4.      As with all testimony, legal conclusions and hearsay are inadmissible. See United

States v. Keys, 747 F. App’x 198, 209 (5th Cir. 2018) (“it is well-settled law in this circuit that lay

witness opinion amounting to legal conclusions are inadmissible”); FED. R. EVID. 802, 801; Martin

v. John W. Stone Oil Distributor, Inc., 819 F.2d 547, 549 (5th Cir. 1987). Moreover, declarations

submitted in support of a motion must still meet the minimum standards for relevance under

Federal Rule of Evidence 401, and must make a fact of consequence more or less likely. See, e.g.,

Marsh v. First USA Bank, N.A., 103 F. Supp. 2d 909, 913 (N.D. Tex. 2000). A district court may

exclude relevant evidence “if its probative value is substantially outweighed by a danger of unfair

prejudice, confusing the issues, or needlessly presenting cumulative evidence.” Shoop v. Devon

Energy Prod. Co., L.P., No. 3:10-cv-00650-P, 2013 U.S. Dist. LEXIS 188345, at *22 (N.D. Tex.

Mar. 28, 2013) (quoting FED. R. EVID. 403).

        III. OBJECTIONS TO DECLARATIONS OF ANDREW ARULANANDAM

       5.      Defendants object to certain passages within the April 14, 2020, declaration of

Andrew Arulanandam (“April 14, 2020 Arulanandam Declaration”) and the May 1, 2020,

declaration of Andrew Arulanandam (“May 1, 2020 Arulanandam Declaration”).

       6.      As a preliminary matter, Defendants object to the April 14, 2020 Arulanandam

Declaration in its entirety because it is not relevant to the subject matter of Defendant’s Motion to

Disqualify or Plaintiff’s Response. Although it was attached as Exhibit 38 to Plaintiff’s Response,

Plaintiff did not cite this Exhibit in support of a single proposition within its Response. Defendants




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                     PAGE 3
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 4 of 29 PageID 9063



object to the April 14, 2020 Arulanandam Declaration as irrelevant and ask the Court to sustain

their objections and disregard the testimony.

       7.      In addition, Defendants further object to the April 14, 2020 Arulanandam

Declaration as set forth below:

 NO.    DEFENDANT’S EVIDENCE                        GROUNDS FOR OBJECTION

 1.     April 14, 2020 Declaration of Factual Conclusion; Subjective Opinion.
        Andrew Arulanandam (ECF
        122) ¶ 5:                      Defendants object to this passage from paragraph 5
                                       of the April 14, 2020 Arulanandam Declaration
        “This argument is disingenuous because it purports to draw a factual conclusion
        and without factual basis.”    regarding a contested issue in this matter,
                                       specifically, the Brewer Firm’s status as a competitor
                                       of AMc. Although Arulanandam offers certain facts
                                       in support of his conclusion that the Brewer Firm and
                                       AMc are not competitors, this assertion represents
                                       nothing more than Arulanandam’s subjective factual
                                       conclusion regarding the weight and significance of
                                       the facts he presents.

                                           Defendants further object to this passage because it
                                           represents only Arulanandam’s subjective belief that
                                           an argument by AMc is “disingenuous” and purports
                                           to opine on the subjective state of mind of “AMc’s
                                           lawyers,” which Arulanandam does not have the
                                           personal knowledge to attest to.

 2.     April 14, 2020 Declaration of Legal Conclusion.
        Andrew Arulanandam (ECF
        122) ¶ 6:                          Defendants object to this passage from paragraph 5
                                           of the April 14, 2020 Arulanandam Declaration
        “Instead, they attached a highly because it renders an improper legal conclusion
        confidential,      attorney-client regarding a contested in this matters, specifically,
        privileged presentation (the whether          the   referenced     presentation   was
        ‘Privileged        Presentation’) “privileged.” Defendants object to this conclusion
        delivered to a closed executive and all references to the “Privileged Presentation”
        session of the NRA Board of throughout the Declaration.
        Directors…”

 3.     April 14, 2020 Declaration of Legal Conclusion.
        Andrew Arulanandam (ECF
        122) ¶ 8:                     Defendants object to this passage from paragraph 5
                                      of the April 14, 2020 Arulanandam Declaration


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                               PAGE 4
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                Page 5 of 29 PageID 9064



       “AMc was a trusted agent and because it renders an improper legal conclusion
       fiduciary of the NRA for many regarding a contested in this matters, specifically,
       years…”                       whether AMc was ever a “fiduciary” of the NRA,
                                     which AMc disputes.

 4.    April 14, 2020 Declaration of Legal Conclusion.
       Andrew Arulanandam (ECF
       122) ¶ 8:                        Defendants object to this passage from paragraph 5
                                        of the April 14, 2020 Arulanandam Declaration
       “In fact, its contract (Services because it renders an improper legal conclusions and
       Agreement dated April 2017) purports to interpret a portion of the Services
       explicitly forbade it from Agreement to establish, further using that
       copying the NRA’s confidential interpretation to evaluate AMc’s conduct, both tasks
       information without the NRA’s reserved to the Court.
       consent.”



      8.     In addition, Defendants make the following objections to the May 1, 2020

Arulanandum Declaration:

 1.    May 1, 2020 Declaration of Factual Conclusion; Subjective Belief.
       Andrew Arulanandam (ECF
       122) ¶ 5:                         Defendants object to this passage of paragraph 5 of
                                         the May 1, 2020 Arulanandam Declaration because
       “I do not believe BAC has the purports to draw a factual conclusion regarding a
       expertise or staffing to position contested issue in this matter, specifically, the Brewer
       itself as a ‘competitor’ to AMc, Firm’s status as a competitor of AMc. While
       and it seems disingenuous AMc Arulanandam offers certain facts in support of his
       would promote such a narrative.” conclusion that the Brewer Firm and AMc are not
                                         competitors, this assertion represents nothing more
                                         than Arulanandam’s subjective factual conclusion
                                         regarding the weight and significance of the facts he
                                         presents.

                                          Defendants further object to this passage because it
                                          represents only Arulanandam’s subjective belief that
                                          an argument by AMc is “disingenuous” and purports
                                          to opine on the subjective state of mind of AMc,
                                          which Arulanandam does not have the personal
                                          knowledge to attest to.




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 5
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 6 of 29 PageID 9065



              IV. OBJECTIONS TO DECLARATIONS OF TRAVIS CARTER

        9.      Defendants objects to certain passages within of the March, 4, 2020, declaration of

Travis Carter (“March 4, 2020 Carter Declaration”) and the May 4, 2020 declaration of Travis

Carter (“May 4, 2020 Carter Declaration”) that the NRA submitted on May 4, 2020 with the

Response to the Motion to Disqualify. To begin with, the March 4, 2020 Carter Declaration is

cumulative of the May 4, 2020 Carter Declaration and simply represents a shorter summary of the

latter, adding no unique facts. Defendants object to the March 4, 2020 Carter Declaration as

unnecessarily cumulative and ask the Court to sustain its objection to the March 4, 2020 Carter

Declaration in its entirety.

        10.     Defendants further object to the March 4, 2020 Carter Declaration as follows:

 NO.     DEFENDANT’S EVIDENCE                         GROUNDS FOR OBJECTION

 1.     March 4, 2020 Declaration of Factual Conclusion; Subjective Opinion.
        Travis Carter (ECF 122) ¶ 7:
                                         Defendants object to this passage of paragraph 7 of
        “There is no comparison the March 4, 2020 Carter Declaration because it
        between the services and purports to draw a factual conclusion regarding a
        activities of the Public Affairs contested issue in this matter. While Carter offers
        Group of the Brewer Firm and certain facts in support of this conclusion, the
        Ackerman.”                       assertion itself nevertheless represents Carter’s
                                         subjective opinion regarding the weight and
                                         significance of the facts he presents.

 2.     March 4, 2020 Declaration of Hearsay; Lacks Personal Knowledge.
        Travis Carter (ECF 122) ¶ 7:
                                         Defendants object to this passage from paragraph 7
        “In fact, several of the NRA’s of the March 4, 2020 Carter Declaration because it
        stakeholders have mentioned to contains out-of-court statements by unidentified
        me the ridiculousness of such an NRA “stakeholders,” which is being offered for the
        argument – observing the size of truth of the matter asserted, specifically, the
        my work group and commenting proposition that the Brewer Firm is not a competitor
        that Ackerman seldom, if ever, of AMc.
        engaged in direct media outreach
        relating to the NRA’s legal
        concerns.”




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                 PAGE 6
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20              Page 7 of 29 PageID 9066



 3.    March 4, 2020 Declaration of Factual Conclusion; Subjective Opinion.
       Travis Carter (ECF 122) ¶ 12:
                                        Defendants object to this passage of paragraph 12 of
       “In my view, there can be no the March 4, 2020 Carter Declaration because it
       legitimate basis upon which purports to draw a factual conclusion regarding a
       Ackerman can claim that the contested issue in this matter. While Carter offers
       Brewer firm seeks to “compete” certain facts in support of this conclusion, the
       with Ackerman or replace it as assertion that any claim by AMc is not “legitimate”
       the        advertising        or nevertheless represents Carter’s subjective opinion
       communications firm of record regarding the weight and significance of the facts he
       for the NRA.”                    presents.



       11.   In addition, Defendants object to the May 4, 2020 Carter Declaration as follows:

 NO.    DEFENDANT’S EVIDENCE                      GROUNDS FOR OBJECTION

 1.    May 4, 2020 Declaration of Factual Conclusion; Subjective Opinion.
       Travis Carter (ECF 122) ¶ 9:
                                       Defendants object to this passage of paragraph 9 of
       “BAC is not a competitor to the the May 4, 2020 Carter Declaration because it
       agency.”                        purports to draw a factual conclusion regarding a
                                       contested issue in this matter. While Carter offers
                                       certain facts in support of this conclusion, the
                                       conclusion itself nevertheless represents Carter’s
                                       subjective opinion regarding the weight and
                                       significance of the facts he presents.

 2.    May 4, 2020 Declaration of Legal Conclusion; Subjective Opinion.
       Travis Carter (ECF 122) ¶ 9:
                                      Defendants object to this passage of paragraph 9 of
       “There is no legitimate basis the May 4, 2020 Carter Declaration because it
       upon which AMc claims that the purports to draw a factual conclusion regarding a
       Brewer firm seeks to ‘compete’ contested issue in this matter. While Carter offers
       with AMc or replace it as the certain facts in support of this conclusion, the
       advertising or communications conclusion itself nevertheless represents Carter’s
       firm of record for the NRA.”   subjective opinion regarding the weight and
                                      significance of the facts he presents.

 3.    May 4, 2020 Declaration of Hearsay; Lacks Personal Knowledge.
       Travis Carter (ECF 122) ¶ 18:
                                        Defendants object to the entirety of paragraph 18 of
       “AMc reported that many of the May 4, 2020 Carter Declaration because it
       these      employees       were supplies no foundational facts to show Carter’s
       exclusively dedicated to serving personal knowledge of what AMc “reported” to the
       the NRA. That said, I understand NRA at any time regarding its employees.


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                             PAGE 7
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                Page 8 of 29 PageID 9067



       that at least one other AMc client Furthermore, Carter also lacks personal knowledge
       believes the agency assigned       regarding his statement regarding what “at least one
       professionals to its account who   other AMc client believes” as inadmissible hearsay
       were supposed to be dedicated      being offered for the truth of the matter asserted,
       full-time to the NRA.”             specifically, that AMc was misallocating its
                                          employees time.
 4.    May 4, 2020 Declaration of Subjective Belief; Factual Conclusion.
       Travis Carter (ECF 122) ¶ 21:
                                          Defendants object to this passage of paragraph 21 of
       “For all these reasons, it strains the May 4, 2020 Carter Declaration because it
       credibility for AMc to argue that purports to draw a factual conclusion regarding a
       the small public affairs team of contested issue in this matter. While Carter offers
       BAC ever sought to replace the certain facts in support of this conclusion, the
       core services provided by the conclusion itself nevertheless represents Carter’s
       agency to the NRA.”                subjective opinion regarding the weight and
                                          significance of the facts he presents.

 5.    May 4, 2020 Declaration of Hearsay; Lacks Personal Knowledge.
       Travis Carter (ECF 122) ¶ 35:
                                       Defendants object to this passage of paragraph 35 of
       “I was told that AMc never the May 4, 2020 Carter Declaration because it
       presented to the Public Affairs contains an out-of-court statement by an unidentified
       Committee in connection with person being offered for the truth of the matter
       these types of issues.”         asserted, specifically, that “AMc never presented to
                                       the Public Affairs Committee” on certain issues.
                                       Carter lacks the personal knowledge to make this
                                       assertion.

 6.    May 4, 2020 Declaration of Factual       Conclusions;            Legal     Conclusions;
       Travis Carter (ECF 122) ¶ 39: Subjective Opinions.

       “Accordingly,      BAC,        on    Defendants object to this passage of paragraph 39 of
       occasion, has publicly commen-       the May 4, 2020 Carter Declaration because it
       ted on behalf of its client about    contains the factual and legal conclusions regarding
       these legal proceedings and          contested matters, asserting that AMc’s claims were
       confronted false claims and          “false.” These conclusions represent only Carter’s
       allegations made by AMc and its      subjective opinions and should be disregarded.
       principals.”

 7.    May 4, 2020 Declaration of Subjective Opinion; Lacks Personal Knowledge.
       Travis Carter (ECF 122) ¶ 42:
                                        Defendants object to this passage of paragraph 42 of
       “Predictably, AMc’s premed- the May 4, 2020 Carter Declaration because it
       itated attack on an unsuspecting contains Carter’s subjective opinion regarding the
       NRA spawned numerous neg- mental state of AMc, specifically, that a media
       ative articles full of disinfor-


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 8
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 9 of 29 PageID 9068



       mation contained in the media advisory was a “premeditated attack,” which Carter
       advisory.”                    lacks the personal knowledge to attest to.



 8.    May 4, 2020 Declaration of Subjective Opinion; Conjecture; Lacks Personal
       Travis Carter (ECF 122) ¶ 43: Knowledge.

       “…likely to avoid drawing            Defendants object to this passage of paragraph 43 of
       attention to AMc’s unprovoked        the May 4, 2020 Carter Declaration because it
       reputational attacks on the          contains Carter’s subjective opinion and conjecture
       NRA.”                                regarding the mental state and motivations of AMc,
                                            which Carter lacks the personal knowledge to attest
                                            to.

 9.    May 4, 2020 Declaration of Subjective Opinion; Conjecture; Lacks Personal
       Travis Carter (ECF 122) ¶ 44: Knowledge; Misstates the Evidence.

       “AMc has widely distributed a        Defendants object to this passage of paragraph 44 of
       barrage of negative media            the May 4, 2020 Carter Declaration because it
       advisories, blistering quotes, and   contains Carter’s subjective opinion and conjecture
       other communications meant to        regarding the mental state and motivations of AMc,
       harm BAC and the NRA.”               specifically that AMC “meant to harm” anyone,
                                            which Carter lacks the personal knowledge to attest
                                            to.

                                            Defendants further object to Carter’s misstatement of
                                            the evidence. As shown in Defendants’ Motion to
                                            Disqualify, Appendix A, the Brewer Firm made
                                            multiple negative comments against AMc in the
                                            media prior to July 3, 2019, including claims that
                                            AMc had failed to comply with record requests, that
                                            it had launched “smear campaigns,” that it was
                                            engaged in conspiracy in a “coup” attempt upon
                                            Wayne LaPierre.

 10.   May 4, 2020 Declaration of Subjective Belief; Factual Conclusion.
       Travis Carter (ECF 122) ¶ 45:
                                      Defendants object to this passage of paragraph 45 of
       “I believe AMc’s actions and the May 4, 2020 Carter Declaration because it
       inflammatory campaign messag- contains and relies only upon Carter’s subjective
       ing have contributed to the belief that AMc’s actions and messaging were
       intense public scrutiny of the somehow “inflammatory.” To the extent that any of
       agency.”                       this “messaging” was related to NRATV content,
                                      Carter does not state facts to support his personal
                                      knowledge of AMc’s media operations or the extent


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                 PAGE 9
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 10 of 29 PageID 9069



                                          of NRA approval of such “messaging” to provide
                                          sufficient foundation for this statement.

                                          Defendants further object that this statement is
                                          irrelevant to any of the issues at play in this lawsuit,
                                          in Defendants’ Motion to Disqualify, or Plaintiff’s
                                          Response. NRATV messaging, or the response of the
                                          media or general public, is not the subject of the
                                          claims or defenses of either party and entirely
                                          unrelated to the media statements made by the
                                          Brewer Firm about the NRA’s claims against AMc,
                                          which are the subject of this lawsuit. Defendants
                                          object to this statement as irrelevant and an attempt
                                          to confuse the issues.

  11.   May 4, 2020 Declaration of Hearsay; Lacks Personal Knowledge.
        Travis Carter (ECF 122) ¶ 47:
                                          Defendants object to this passage of paragraph 47 of
        “The NYT proactively contacted the May 4, 2020 Carter Declaration because it
        the NRA and its representatives purports to attest to communications between the
        to advise it was pursuing the New York Times and “the NRA and its
        investigative     article,  upon representative” but does not provide facts to support
        reportedly learning that certain Carter’s personal knowledge of this interaction. If
        NRA board members, like the Carter was one of the “representatives” whom the
        general public, were increasingly NRA contacted, the Declaration does not make that
        uncomfortable with the ‘site’s clear.
        [NRATV]              inflammatory
        rhetoric, and wehter it has Moreover, the statement contains hearsay (statements
        strayed too far from the N.R.A.’s from unidentified “NRA board members”) within
        core gun-rights mission….’”       hearsay (statement from the unidentified New York
                                          Times representative) which is being offered for the
                                          truth of the matter asserted, specifically that NRATV
                                          messaging was “inflammatory.”

                                          Defendants further object that this statement is
                                          irrelevant to any of the issues at play in this lawsuit,
                                          in Defendants’ Motion to Disqualify, or Plaintiff’s
                                          Response. The general media response to NRATV
                                          messaging is not the subject of the claims or defenses
                                          of either party and entirely unrelated to the media
                                          statements made by the Brewer Firm about the
                                          NRA’s claims against AMc, which are the subject of
                                          this lawsuit. Defendants object to this statement as
                                          irrelevant and an attempt to confuse the issues.




 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                               PAGE 10
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 11 of 29 PageID 9070



  12.   May 4, 2020 Declaration of Subjective Belief; Factual Conclusions.
        Travis Carter (ECF 122) ¶ 49:
                                       Defendants object to this passage of paragraph 12 of
        “I do not believe there is any the March 4, 2020 Carter Declaration because it
        legitimate argument that BAC purports to draw a factual conclusion regarding a
        sought to ‘replace’ AMc as the contested issue in this matter. While Carter offers
        NRA’s communications or certain facts in support of this conclusion, the
        advertising agency of record.” assertion that any claim by AMc is not “legitimate”
                                       nevertheless represents Carter’s subjective opinion
                                       regarding the weight and significance of the facts he
                                       presents.



              V.   OBJECTIONS TO DECLARATION OF CHARLES COTTON

        12.    Defendants object to certain passages within the declaration of Charles Cotton:

  NO.    DEFENDANT’S EVIDENCE                       GROUNDS FOR OBJECTION

  1.    Declaration of Charles Cotton Factual Conclusion; Subjective Belief.
        (ECF 122) ¶ 5:
                                      Defendants object to this passage of paragraph 5 of
        “The allegation by Ackerman the Cotton Declaration because it purports to draw a
        McQueen, Inc. (‘AMc’) that factual conclusion regarding a contested issue in this
        Brewer or BAC somehow matter, specifically, whether the Brewer Firm
        ‘manufactured’ the disputes manufactured disputes between the NRA and AMc.
        between the NRA and AMc is While Cotton offers certain facts in support of this
        false.”                       conclusion, the assertion itself nevertheless
                                      represents Cotton’s subjective opinion regarding the
                                      weight, significance, and interpretation of the facts he
                                      presents.

  2.    Declaration of Charles Cotton Hearsay;    Subjective           Opinion;      Lack        of
        (ECF 122) ¶ 5:                Foundation.

        “Coincidentally, during July       Defendants object to this passage of paragraph 5 of
        2018, several NRA employees        the Cotton Declaration because it references out-of-
        approached the Audit Committee     court statements by “NRA employees” which are
        and raised serious concerns        being offered for the truth of the matter asserted,
        about AMc’s business and           specifically, that there was cause to be concerned
        billing practices.”                about AMc’s billing practices. Without knowing
                                           what these employees actually said, Cotton does not
                                           provide sufficient factual foundation for his opinion
                                           that such concerns were “serious,” as he states.




 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                              PAGE 11
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 12 of 29 PageID 9071



  3.    Declaration of Charles Cotton Hearsay;     Subjective    Opinion;                 Factual
        (ECF 122) ¶ 6:                Conclusion; Not Best Evidence.

        “Since that time, facts have         Defendants object to this passage of paragraph 6 of
        surfaced over the ensuing year       the Cotton Declaration because it also contains
        which made clear that the NRA        hearsay. Cotton offers the same out-of-court
        was correct to investigate this      statements from the same “concerned” employees,
        concern expressed by NRA             which is being offered for the truth of the matter
        employees in 2018.”                  asserted.

                                             Cotton also references certain “facts,” for which he
                                             does not demonstrate any personal knowledge, that
                                             supposedly “made clear” the NRA’s course of action
                                             to investigate AMc. The only “fact” Cotton relies
                                             upon as an example (stated in line 5 below) is
                                             inadmissible, both because it is contains hearsay and
                                             because, even within the hearsay, it merely shows the
                                             hearsay speaker was only speculating, not stating
                                             facts.

                                             If such facts actually existed, they would have been
                                             better evidence than Carter’s unsupported factual
                                             conclusions.

  4.    Declaration of Charles Cotton Hearsay; Conjecture; Subjective Opinion; Lack
        (ECF 122) ¶ 6:                of Foundation; Not Best Evidence.

        “Based on documents and events       Defendants object to this passage of paragraph 6 of
        about which I was later made         the Cotton Declaration because it refers only to
        aware, it appears that AMC           “documents and evidence” without providing
        likely took advantage of the trust   sufficient factual foundation to demonstrate Cotton’s
        placed in them by the NRA.”          personal knowledge of such information and simply
                                             purports to provide a factual conclusion regarding
                                             what such “documents and evidence” may contain.
                                             Cotton’s account of these “documents and evidence”
                                             is nothing more than inadmissible hearsay because it
                                             is being offered for the truth of the matter asserted,
                                             specifically, his conjecture that AMc “took
                                             advantage” of the NRA’s trust.

                                             The only fact Cotton relies upon to support this
                                             proposition example (stated in line 5 below) is
                                             inadmissible, both because it is contains hearsay and
                                             because, even within the hearsay, it merely shows the
                                             hearsay speaker was only speculating, not stating
                                             facts.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 12
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                                    Page 13 of 29 PageID 9072




                                                       If such “documents and evidence” do exist, they
                                                       would have been better evidence of this proposition
                                                       than Cotton’s conclusory statement.

     5.      Declaration of Charles Cotton Hearsay; Misstates the Evidence; Speculation.
             (ECF 122) ¶ 6:
                                                Defendants object to this passage of paragraph 6 of
             “As only one example, I became the Cotton Declaration because it is inadmissible
             aware of an email dated April 15, hearsay, an out-of-court statement by Dan Boren,
             2019, authored by an executive being offered for the truth of the matter asserted.
             of another AMc client and
             former      Congressman,      Dan However, even within this hearsay, the Boren’s
             Boren, which predicted that language shows that he was merely speculating as to
             AMc “can’t produce the backup AMc’s inability to produce supporting documents or
             to the invoices” it submitted to assignment of its personnel. Plus, Cotton misstates
             the NRA because AMc has likely the evidence, in which Boren states: “I bet Ackerman
             been billing the NRA for is in trouble on this one,”1 which further shows the
             personnel assigned to other speculative nature of Boren’s statement.
             clients – to wit, his employer. In
             sum,      Mr.     Boren    stated:
             “Ackerman is in trouble on this
             one.”

     6.      Declaration of Charles Cotton Factual Conclusion; Lack of Foundation.
             (ECF 122) ¶ 7:
                                              Defendants object to paragraph 7 of the Cotton
             “I later became aware that a Declaration because it fails to provide a factual
             contract between AMc and Lt. foundation for Cotton’s subjective factual conclusion
             Col. Oliver North (‘North’) – a that certain provisions of the Oliver North’s contract
             related party transaction which were “material,” and does not provide sufficient
             required    Audit    Committee information to determine what was originally
             approval because North was a presented to the Audit Committee in September 2018
             member of the NRA Board – or what provisions were supposedly discovered later
             contained material provision far in order to gauge whether the terms were “materially
             different from those originally different” as Cotton states.
             disclosed     to   the     Audit
             Committee when our committee
             approval     was    sought    in
             September 2018.

     7.      Declaration of Charles Cotton Subjective Opinion; Lack of Foundation.
             (ECF 122) ¶ 8:



 1
     See Plaintiff’s use of the full quote in its Amended Complaint, ECF 18 at ¶ 76.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                             PAGE 13
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                   Page 14 of 29 PageID 9073



        “The Audit Committee gave             Defendants object to this passage of paragraph 8 of
        careful consideration to the          the Cotton Declaration because it represents only
        criticisms of BAC’s engagement        Cotton’s subjective opinion that the Audit Committee
        advanced      by   North     and      gave “careful consideration” to the Brewer Firm’s
        determined that the controls and      engagement and that his invoices were “adequate.”
        processes already in place for        This statement does not identify what procedures
        review of legal invoices were         were undergone to make this determination or what
        adequate.”                            factors were addressed in determining the adequacy
                                              Cotton announces.


              VI. OBJECTIONS TO DECLARATION OF MICHAEL ERSTLING

        13.    Defendants object to certain passages within the declaration of Michael Erstling:

  NO.    DEFENDANT’S EVIDENCE                          GROUNDS FOR OBJECTION

  1.    Declaration of Michael Erstling Lack of Personal Knowledge; Conclusory
        (ECF 122) ¶ 5:                  Statement.
        “In addition, preparing the           AMc objects to the factual conclusions contained
        annual budget was made difficult      within paragraph 5 of the Erstling Declaration as
        because Ackerman regularly            lacking foundation. Erstling does not describe where
        deviated from the budget              his entitlement to “insight into the basis” of AMc’s
        parameters set by the NRA. I          budgets might have come from or who was supposed
        was provided no insight into the      to—yet failed to—provide him with this “insight.”
        basis for its budgets or whether it
        would adhere to them.”                Erstling does not state that he attended any of the
                                              annual budget meetings with AMc, or that he was
                                              otherwise privy to any of the particular details of the
                                              party’s multi-decade relationship, such that would
                                              support his conclusion that AMc somehow
                                              “deviated” from certain “budget parameters,” which
                                              Erstling fails to define whatsoever.

  2.    Declaration of Michael Erstling Lack of Personal Knowledge; Subjective Belief.
        (ECF 122) ¶ 6:
                                           AMc objects to this passage of paragraph 6 of the
        “…I developed serious concerns Erstling Declaration because Erstling, as an employee
        about Ackerman’s budgeting and of the accounting department, does not state grounds
        billing pratices and the trust the for his personal knowledge as to the level of
        NRA had placed in the agency.” institutional “trust” the NRA placed in AMc. This
                                           statement represents only Erstling’s unsupported and
                                           subjective “concerns” that such “trust” was somehow
                                           misplaced.




 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                  PAGE 14
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                           Page 15 of 29 PageID 9074



     3.      Declaration of Michael Erstling Lack of Personal Knowledge; Conclusory
             (ECF 122) ¶ 6:                  Statement.
             “Ackerman . . . systemically             AMc objects to this passage of paragraph 6 of the
             obfuscated and blocked the               Erstling Declaration because it is a factual
             NRA’s efforts to understand              conclusion. Erstling fails to describe the type of
             what services were covered by            information that he felt was lacking, his efforts to
             any particular invoice.”                 communicate with AMc to obtain any missing
                                                      information, or the responsive conduct by AMc that
                                                      would     indicate    such    “obfuscate[ion]”    or
                                                      “block[ing.]”

                                                      Indeed, this conclusory allegation merely echoes the
                                                      same opaque allegation that the NRA has been
                                                      leveling since the beginning of this lawsuit, with the
                                                      same scarcity of supporting facts.

     4.      Declaration of Michael Erstling          Lack of Personal Knowledge; Conclusory
             (ECF 122) ¶ 6:                           Statements, Subjective Beliefs & Opinions.
             “When      staffing     projects,
             Ackerman regularly employed,             AMc objects to this passage of paragraph 6 of the
             without    written    approvals,         Erstling Declaration because it fails to describe the
             expensive outside contractors for        factual basis for Erstling’s understanding of the
             functions, that in my opinion            “written approval” process required for AMc, the
             could have been adequately               standards for that process, the way in which AMc
             served by NRA staff.”                    supposedly fell below such standards, or the reason
                                                      an employee of the accounting department would
                                                      have been involved in this approval process that was
                                                      contractually reserved solely to Wayne LaPierre or
                                                      his designee.2

                                             Moreover, Erstling, as a member of the accounting
                                             department, does not state any facts that would
                                             support his knowledge regarding price or necessity of
                                             contractors or services provided by a public-relations
                                             and marketing agency, such that he could properly
                                             opine that such contractors were “expensive” or
                                             “could have been adequately served by NRA staff.”
                                             The Erstling Declaration contains no basis for such
                                             opinions, which merely represent Erstling’s
                                             subjective beliefs.
     5.      Declaration of Michael Erstling Lack of Personal Knowledge; Subjective Belief.
             (ECF 122) ¶ 6:
                                             AMc objects to this passage of paragraph 6 of the
                                             Erstling Declaration because, as he himself states, it
 2
     ECF 81 at Ex. A-14, Services Agreement, dated April 30, 2017, at § IX.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                         PAGE 15
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                  Page 16 of 29 PageID 9075



        “It was my suspicion that is nothing but a “suspicion.” Erstling does not state
        Ackerman did this because it any facts that would support this subjective belief.
        could collect a markup from the
        NRA on contractors it hired.”

  6.    Declaration of Michael Erstling     Legal Conclusion.
        (ECF 122) ¶ 7:
                                          AMc objects to this passage of paragraph 7 of the
        “I also noted that Ackerman’s Erstling Declaration because it purports to interpret
        bills regularly violated contract the contract between the NRA and AMc and offer a
        stipulations.”                    legal conclusion that AMc violated certain
                                          provisions. This is improper lay witness testimony.
                                          AMc objects to this legal conclusion and all factual
                                          conclusions Erstling subsequently draws from it.

  7.    Declaration of Michael Erstling     Lack of Personal Knowledge; Factual
        (ECF 122) ¶ 7:                      Conclusion.

        “For example, I became              As an example in support of his improper lay-witness
        concerned that Ackerman was         legal conclusion, Erstling cites AMc’s periodic
        billing the NRA for work, such      invoices for Carry Guard magazine. Having already
        as future issues of Carry Guard     admitted that he had “no insight” into AMc’s budget
        magazine, that had not been         (¶5), Erstling purports to conclude that such invoices
        undertaken; indeed, in May 2018     nevertheless constituted a contractual violation.
        the NRA was billed $296,000 for     Erstling also fails to state any facts to support how, as
        an issue of Carry Guard             only a member of the accounting department, Erstling
        magazine that was not slated to     would have personal knowledge of any “backlog” of
        be released until later that        Carry Guard Magazine. AMc objects to this passage
        summer. In August 2018 NRA          of paragraph 7 of the Erstling Declaration.
        received another invoice for a
        fifth issue even though the
        Association was already in
        possession of a backlog of issues
        of the Carry Guard magazine that
        had yet to be released to the
        public.”

  8.    Declaration of Michael Erstling Hearsay.
        (ECF 122) ¶ 8:
                                            AMc objects to this passage of paragraph 8 of the
        “During early 2018, I began to Erstling Declaration because he purports to speak for
        compare notes with other NRA other individuals in the NRA accounting, using their
        accounting staff, and it became out-of-court statements in support of the matter
        clear that several of us shared the asserted, namely, his “concerns” about AMc.
        same or similar concerns.”




 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                  PAGE 16
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 17 of 29 PageID 9076



  9.    Declaration of Michael Erstling Lack of Personal Knowledge; Factual
        (ECF 122) ¶ 8:                  Conclusion.

        “Although there were other           AMc objects to this passage of paragraph 8 of the
        vendors (and transactions) we        Erstling Declaration because it is an unsupported
        also   believed       should   be    factual conclusion, announcing only that AMc was
        examined,      Ackerman       was    “the most significant offender,” which is still an
        clearly the most significant         extension of Erstling’s improper legal conclusion that
        offender in light of the amount of   some contract violation (i.e., an “offense”) had
        NRA funds it received and the        occurred. Stripped of Erstling’s improper legal
        degree of autonomy it enjoyed.”      conclusion, this assertion bases AMc’s “offender”
                                             status on nothing more than “the amount of NRA
                                             funds it received” and its “degree of autonomy,”
                                             whatever that means. Erstling fails to provide
                                             sufficient facts to demonstrate wrongdoing from
                                             either AMc’s receipt of funds or its “autonomy.”

  10.   Declaration of Michael Erstling      Hearsay.
        (ECF 122) ¶ 8:
                                        AMc objects to this passage of paragraph 8 of the
        “My colleagues and I raised our Erstling Declaration as hearsay because it is an out-
        concerns with the Audit of-court statement from Erstling (and his colleagues)
        Committee of the NRA Board of offered for the truth of the matter asserted.
        Directors in July 2018.”

  11.   Declaration of Michael Erstling      Subjective Belief.
        (ECF 122) ¶ 9:
                                             AMc objects to this passage of paragraph 9 of the
        “In my view, these allegations       Erstling Declaration because it is nothing but
        are ridiculous and offensive—        Erstling’s subjective belief regarding what he, and
        they imply that if Brewer had not    others in the NRA accounting department, would
        come along, the NRA’s                have done under a different set of circumstances.
        accountants would not have
        acted to cause the NRA to
        investigate Ackerman’s billing
        practices.”

  12.   Declaration of Michael Erstling      Speculation; Factual Conclusion; Legal
        (ECF 122) ¶ 9:                       Conclusion; Subjective Opinion/Belief.

        “Although it is difficult to         AMc objections to this passage of paragraph 9 of the
        speculate about counterfactuals,     Erstling declaration. As a preliminary matter,
        I would hope that even if the        Erstling begins the phrase by admitting that he is
        NRA had never retained the           speculating. He then concludes factually that AMc
        Brewer     Firm,    it   would       refused to cooperate with requests for files, books,
        nonetheless      have      fired     and records, even though he provides no details


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 17
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 18 of 29 PageID 9077



        Ackerman by 2019 for its refusal    anywhere in the Declaration about where he learned
        to cooperate with requests for      such information—i.e., whether he himself requested
        files, books, and other records     information and was refused, or whether he just heard
        pursuant to the Services            about these allegations of non-cooperation from
        Agreement.”                         others in the NRA (which would result in hearsay).
                                            This factual conclusion is summed up with another
                                            legal conclusion, purporting to deem AMc’s
                                            nonspecific “refusal to cooperate” as a breach of the
                                            Services Agreement.

                                           Finally, as parroted throughout the NRA’s Response
                                           to Defendants’ Motion to Disqualify, Erstling’s
                                           opinion that AMc should be “fired” is objectionable
                                           as lacking any factual support whatsoever. In his
                                           description of his position with the NRA, Erstling
                                           does not state that he was familiar with the standards
                                           for “firing” vendors, nor does he state that he had ever
                                           been involved with “firing” a vendor. His statement
                                           that AMc should be “fired” is simply his subjective
                                           opinion.
  13.   Declaration of Michael Erstling Factual Conclusion; Lacks Supporting Facts.
        (ECF 122) ¶ 9:
                                           AMc objects to this passage from paragraph 9 of the
        “Over my entire career as a Erstling Declaration as lacking in factual foundation.
        Certified Public Accountant, I Again, nowhere in Erstling’s declaration does he cite
        cannot recall interacting with any a single instance of the type of “contempt” he alleges
        other vendor that afforded its or one single “interact[ion]” he personally
        client so little transparency or experienced with AMc. AMc objects to this factual
        treated client staff with so much conclusion regarding the subjective mindset of
        contempt.”                         anyone at AMc, of which he has no personal
                                           knowledge.


               VII. OBJECTIONS TO DECLARATION OF JOHN FRAZER

        14.    Defendants object to certain passages of the declaration of John Frazer:

  NO.    DEFENDANT’S EVIDENCE                         GROUNDS FOR OBJECTION

  1.    Declaration of John Frazer (ECF Factual Conclusion; Subjective Belief.
        122) ¶ 3:
                                          Defendants object to paragraph 3 of the Frazer
        “I have reviewed the allegations Declaration because it states only Frazer’s subjective
        contained in the Disqualification belief and factual conclusion that Defendants’
        Motion and believe them to be Motion to Disqualify is “without merit.” Although
        totally without merit.”           Frazer offers certain facts in support of this
                                          conclusion, this assertion represents nothing more


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 18
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 19 of 29 PageID 9078



                                          than Frazer’s subjective opinion regarding the weight
                                          and significance of the facts he presents.

  2.    Declaration of John Frazer (ECF Hearsay; Lack of Personal Knowledge.
        122) ¶ 4:
                                         Defendants object to this passage of paragraph 4 of
        “…I was fully aware, and the Frazer Declaration because it references out-of-
        understood that other members court statements made by members of “NRA
        of the NRA leadership were fully leadership” offered in support of the truth of the
        aware, of Brewer’s relationship matter asserted, specifically, that numerous people
        by marriage to the McQueen among NRA leadership were aware of the McQueen-
        family.                          Brewer family relationship.


  3.    Declaration of John Frazer (ECF Lacks Personal Knowledge.
        122) ¶ 4:
                                         Defendants object to this passage of paragraph 4 of
        “I am also aware of the animus the Frazer Declaration because it fails to establish the
        which     AMc      alleges   has necessary foundation to support Frazer’s personal
        characterized that relationship knowledge of this animus rather than animus he
        over the past two years.”        simply heard about through others.

  4.    Declaration of John Frazer (ECF Factual Conclusion; Subjective Belief.
        122) ¶ 6:
                                        Defendants object to paragraph 6 of the Frazer
        “In my view, these allegations Declaration because it states only Frazer’s subjective
        are false and meritless.”       belief and factual conclusion that Defendants’
                                        allegation is “without merit.” Although Frazer offers
                                        certain facts in support of this conclusion, this
                                        assertion represents nothing more than Frazer’s
                                        subjective opinion regarding the weight and
                                        significance of the facts he presents.



              VIII. OBJECTIONS TO DECLARATION OF WAYNE LAPIERRE

        15.    Defendants object to certain passages within the declaration of Wayne LaPierre:

  NO.    DEFENDANT’S EVIDENCE                       GROUNDS FOR OBJECTION

  1.    Declaration of Wayne LaPierre Hearsay.
        (ECF 122) ¶ 7:
                                      Defendants object to this passage of ¶ 7 of the
        “…I became concerned and LaPierre Declaration because it contains out-of-court
        received numerous complaints statements by unknown individuals which are being
        that the public messaging AMc offered for the truth of the matter asserted.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                             PAGE 19
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                Page 20 of 29 PageID 9079



        was crafting for the Association
        often struck the wrong tone.”

  2.    Declaration of Wayne LaPierre Hearsay.
        (ECF 122) ¶ 9:
                                       Defendants object to this passage of ¶ 9 of the
        “Moreover,     several   NRA LaPierre Declaration because it contains out-of-court
        employees     voiced   pointed statements by unknown individuals which are being
        concerns that AMc was abusing offered for the truth of the matter asserted.
        the NRA’s trust.”

  3.    Declaration of Wayne LaPierre Lack of Personal Knowledge;                   Conclusory
        (ECF 122) ¶ 15:               Statement; Subjective Opinion.

        “At times, AMc went through the     Defendants objet to this passage of paragraph 15 of
        motions of complying with some      the LaPierre Declaration because it is a factual
        of our requests, but our most       conclusion that fails to specify any facts to support
        important requests were ignored     the type of information that was requested or that
        or rebuffed. By early April 2019,   would support LaPierre’s subjective opinion that
        it was clear to me the agency       such information was the “most important.” LaPierre
        would not comply with the most      does not describe his efforts to communicate with
        important of the Association’s      AMc or obtain any missing information or any
        information requests.”              conduct on the part of AMc that would support the
                                            bare allegation that such requests were “ignored or
                                            rebuffed.”

  4.    Declaration of Wayne LaPierre Subjective Opinion.
        (ECF 122) ¶ 16:
                                         Defendants object to paragraph 16 of the LaPierre
        “The decision to sue one of our Declaration because it represents only LaPierre’s
        longtime vendors was a difficult subjective opinions regarding (1) the “necessary”
        but necessary one. Of course, I nature of the suit against Defendants, and (2) his
        did not imagine AMc would belief that AMc “retaliated” in an “outrageous”
        retaliate in the outrageous manner.
        fashion that followed.”
                                         The only facts LaPierre relies upon to support this
                                         contention are set out in paragraph 19 of the
                                         Declaration, which are not based on personal
                                         knowledge but only upon hearsay and conjecture.

  5.    Declaration of Wayne LaPierre Subjective Belief; Conjecture; Lack of Factual
        (ECF 122) ¶ 17:               Foundation.

        “…North was hired by AMc as a Defendants object to this passage of paragraph 17 of
        full-time employee and turned the LaPierre Declaration because it represents only
        out to be more loyal to AMc than LaPierre’s subjective belief that North was “more


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                              PAGE 20
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 21 of 29 PageID 9080



        the NRA. Although he appeared       loyal to AMc than to the NRA” or that he “aligned”
        to     support     the    NRA’s     himself with AMc at some point. The Declaration
        engagement of BAC, North later      states no facts to support the scrutiny LaPierre claims
        aligned himself with the agency     North was supposedly facing that would lead to such
        as his business relationship with   “alignment” or “loyalty.”
        the agency was scrutinized.”
                                            The only facts LaPierre relies upon to support this
                                            contention are set out in paragraph 19 of the
                                            Declaration, which are not based on personal
                                            knowledge but only upon hearsay and conjecture.

  6.    Declaration of Wayne LaPierre Subjective Belief; Lack of Factual Foundation.
        (ECF 122) ¶ 17:
                                           Defendants object to this passage of paragraph 17 of
        “…I regarded North as having a the LaPierre Declaration because it represents only
        conflict of interest as he LaPierre’s subjective belief that North had a “conflict
        attempted to interfere with the of interest” and provides no foundational facts to
        Association’s efforts to gain support or describe what actions North took to
        access to AMc’s files, books and “interfere” with the “Association’s efforts to gain
        records. In fact, in early 2019…I access to AMc’s files, books, and records.”
        regarded North as having a
        conflict of interest. I repeatedly These concepts related to North’s interference and the
        informed him of this conflict NRA’s attempt to “scrutinize” AMc’s records are
        multiple times and that he should repeated twice here but still provide no detail
        cease and trying to derail BAC’s regarding the NRA’s requests for these books and
        compliance work and its efforts records or the manner in which North was interfering
        to scrutinize AMc’s books and with such requests.
        records.”

  7.    Declaration of Wayne LaPierre Hearsay; Lack of Foundation; Lack of Personal
        (ECF 122) ¶ 18:               Knowledge; Conjecture; Misstates the Evidence.

        “Millie       recounted       the   Defendants object to this passage of paragraph 17 of
        conversation she just had with      the LaPierre Declaration because it represents only
        North. In sum, North wanted to      LaPierre’s subjective interpretation regarding Millie
        convey a message from Angus         Hallow’s out-of-court statements, offered for the
        McQueen and AMc: unless I           truth of the matter asserted therein. Not having been
        dropped the lawsuit against AMc     on the call, LaPierre has no personal knowledge of
        and immediately resigned, AMc       the conversation.
        would      circulate    allegedly
        damaging information about me,      Furthermore, he has subjectively contorted this
        members of my leadership team,      hearsay, not only to conform to his preferred
        and the NRA. On the other hand,     conclusion, but in a manner that is inconsistent with
        if I agreed to their demands and    the sworn testimony of both Carolyn Meadows and
        supported North for another term    Millie Hallow, both of whom testified that North did
        as NRA President, North stated      not seem to be communicating any message on behalf


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 21
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                         Page 22 of 29 PageID 9081



           he would speak to Angus                of AMc.3 Moreover, neither the testimony, nor the
           McQueen in order to negotiate          notes taken by either woman, say anything about
           an ‘excellent retirement’ for          LaPierre “support[ing] North for another term as
           me.”                                   NRA President.”4 LaPierre is literally making this
                                                  up—there is no foundation for this statement
                                                  whatsoever aside from his subjective interpretation
                                                  and beliefs about this situation.

     8.    Declaration of Wayne LaPierre Hearsay; Legal Conclusion; Factual Conclusion
           (ECF 122) ¶ 19:               Lacking Foundation.

           “Sandy Froman and Scott Bach,          Defendants object to this passage of paragraph 19 of
           both of whom are attorneys and         the LaPierre declaration because the determination
           were present when Millie and           that “extortion” occurred is an out-of-court statement
           Carolyn relayed the contents of        by Sandy Froman and Scott Bach offered for the truth
           the call, remarked that this           of the matter asserted. Furthermore, because neither
           sounded like extortion.”               Mr. Froman nor Mr. Bach were present on Millie
                                                  Hallow’s call with North, any legal or factual
                                                  conclusion they might have drawn in this situation
                                                  would similarly lack sufficient factual foundation to
                                                  reach this conclusion and relies solely upon their
                                                  subjective interpretation of the event.

     9.    Declaration of Wayne LaPierre Hearsay.
           (ECF 122) ¶ 19:
                                              Defendants object to this passage of paragraph 19 of
           “Earlier that day, Millie had the LaPierre Declaration because it represents only
           reported receiving a less-detailed LaPierre’s subjective interpretation regarding Millie
           version of the same corrupt Hallow’s out-of-court statement regarding her call
           proposal from former NRA with Dan Boren, which is being offered for the truth
           Board member (and senior of the matter asserted therein. Not having been on the
           executive of an AMc client) Dan call, LaPierre has no personal knowledge of the
           Boren, likewise relayed on conversation nor that any “proposal” was being
           behalf of AMc.”                    transmitted “on behalf of AMc.”

     10.   Declaration of Wayne LaPierre Lack of Foundation; Subjective Belief; Violation
           (ECF 122) ¶ 22:               of Best Evidence Rule.

           “Since then, significant docu-         Defendants objection to this passage of paragraph 22
           ments and other information            of the LaPierre Declaration because it does not state
           have come to my attention that         with any particularity what “documents and other
           confirm my grim intuition that         information” he has discovered, or what facts about
           day: the demand by AMc that I          these documents and information would make them

 3
   See ECF 79 at Ex. A-33 at 183:1-10 [APP 676], 202:6-9 [APP 681], 207:8-13 [APP 682]; Ex. A-28 at 182:4-183:1
 [APP 558].
 4
   See ECF 123 at Ex. 31, 34.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                           PAGE 22
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                           Page 23 of 29 PageID 9082



           resign on April 24, 2019, was a         “significant” or indicative of any “corrupt scheme”
           premeditated, corrupt scheme by         by AMc or anyone else.
           AMc and others to take control
           of the NRA in order to derail           This passage is nothing more than an argumentative
           inquiries   into    their  own          restatement of Plaintiff’s pleadings,5 similarly
           conduct.”                               lacking in detail, intended to allude to some trove of
                                                   damning evidence.

                                                   If such clear evidence existed to confirm these “grim”
                                                   suspicions, then it should have been attached to this
                                                   Declaration or produced as an exhibit to Plaintiff’s
                                                   Response pursuant to Federal Rule of Evidence 1002
                                                   as the best evidence in support of this claim.



                   IX. OBJECTIONS TO DECLARATION OF CRAIG SPRAY

           16.    Defendants object to certain passages within the declaration of Craig Spray:

     NO.    DEFENDANT’S EVIDENCE                              GROUNDS FOR OBJECTION

     1.    Declaration of Craig Spray (ECF Subjective Belief; Conjecture.
           122) ¶ 5:
                                           Defendants object to this passage of paragraph 5 of
           “I apparently touched a raw the Spray Declaration because it represents only
           nerve in Revan McQueen.”        Spray’s subjective belief and conjecture regarding the
                                           mindset of Revan McQueen.

     2.    Declaration of Craig Spray (ECF Subjective Belief; Conjecture.
           122) ¶ 9:
                                            Defendants object to this passage of paragraph 9 of
           “AMc’s      short-sighted    and the Spray Declaration because it represents only
           entitled position that the NRA’s Spray’s subjective belief and conjecture regarding the
           need to make budget cuts was mindset of certain AMc executives as being
           tantamount to “taking” money “entitled” or “short-sighted.”
           from them rang hollow in my
           ears.”

     3.    Declaration of Craig Spray (ECF Subjective Belief; Conjecture.
           122) ¶ 10:
                                           Defendants object to this passage of paragraph 10 of
                                           the Spray Declaration because it represents only

 5
   See, e.g., ECF 18 (Plaintiff’s Amended Complaint) at 2, alluding to “newly unearthed text messages, emails, and
 interviews” which supposedly reveal all manner of misdeeds. Defendants have specifically requested these items in
 written discovery, but they have not been produced.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                             PAGE 23
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                    Page 24 of 29 PageID 9083



         “AMc seemed to believe that any Spray’s subjective belief and conjecture regarding the
         fees paid to other vendors were mindset of certain AMc executives and what they
         an unwise expenditure if AMc “seemed to believe.”
         received less than $40 million
         per year.”

  4.     Declaration of Craig Spray (ECF Subjective Belief; Lacks Factual Foundation.
         122) ¶ 11:
                                           Defendants object to this passage of paragraph 11 of
         “Never in my entire career as a the Spray Declaration because it represents only
         finance executive have I dealt Spray’s subjective opinion that certain conduct was
         with business partners that acted “unprofessional, which further lacks sufficient
         in such an unprofessional factual foundation regarding Spray’s experience with
         manner.”                          previous “business partners” to provide support for
                                           this opinion.



              X.    OBJECTIONS TO DECLARATION OF GRANT STINCHFIELD

        17.        Defendants object to most of the paragraphs of the declaration of Grant Stinchfield.

 As an initial matter, the Stinchfield Declaration is defective as a legal declaration. Specifically,

 the Stinchfield Declaration fails to establish Mr. Stinchfield’s competence to testify on the matters

 stated therein and fails to state that it is made on Mr. Stinchfield’s personal knowledge. See Mason,

 2019 U.S. Dist. LEXIS 165452, at *12-13.

        18.        As a secondary matter, the Stinchfield Declaration does not appear to be relevant

 to any proposition within Plaintiff’s Response. The Declaration, specifically paragraph 3 of

 Declaration, is referenced only one single time in the entire Response at footnote 73, cited for the

 proposition: “One whistleblower testified that AMc “deserved to be fired,” which he believes

 would have occurred with or without Brewer.” See ECF 122 n.73. Paragraph 3 of the Stinchfield

 Declaration does not support this proposition, which relates entirely to the declaration of Erstling.

 But even if this single paragraph was somehow relevant to supporting this unrelated proposition,

 the other fifteen paragraphs are not cited for any proposition in Plaintiff’s Response whatsoever.

 Rather, the Stinchfield Declaration appears to be a vehicle for Stinchfield to air certain grievances


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                   PAGE 24
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                  Page 25 of 29 PageID 9084



 against AMc and Revan McQueen, but it offers nothing substantial in support of the arguments

 contained within Plaintiff’s Response. Defendants object to the court’s consideration of paragraphs

 1-2, and 4-16 for purposes of this Motion.

        19.     In addition, Defendants object as follows:

  NO.    DEFENDANT’S EVIDENCE                          GROUNDS FOR OBJECTION

  1.     Declaration of Grant Stinchfield Lack of Facts Supporting Personal Knowledge;
         (ECF 122) ¶ 2:                   Subjective Belief.

         “However,     while    I    was      Defendants object to this passage from paragraph 2
         employed there, I become [sic]       of the Stinchfield Declaration because it fails to
         concerned that the leadership at     establish the factual foundation for Stinchfield’s
         AMc may not be reporting to the      knowledge of AMc’s reports to the NRA or any
         NRA “live” real time views of        particular access to, or particular understanding of,
         my show.”                            viewership metrics that would give rise to his
                                              subjective belief that there was cause for him to
                                              become “concerned” in the manner he describes.

  2.     Declaration of Grant Stinchfield Lack of Facts Supporting Personal Knowledge.
         (ECF 122) ¶ 2:
                                          Defendants object to this passage from paragraph 2
         “It appeared to me AMc only of the Stinchfield Declaration because it fails to
         focused on social media views in establish the factual foundation for Stinchfield’s
         its reports to the NRA.”         knowledge of AMc’s reports to the NRA, such as his
                                          personal attendance at any such meetings where these
                                          reports were presented, that would establish the
                                          personal knowledge necessary to support this factual
                                          conclusion.
  3.     Declaration of Grant Stinchfield Lack of Facts Supporting Personal Knowledge;
         (ECF 122) ¶ 2:                   Subjective Opinion; Factual Conclusion.

         “By leaving these “live”             Defendants object to this passage from paragraph 2
         numbers out of reports to the        of the Stinchfield Declaration because it fails to
         NRA, a reasonable person would       establish any factual foundation that would support
         likely construe the reports as       Stinchfield’s personal knowledge of what AMc’s
         misleading.”                         “reports” to the NRA did include or should have
                                              included, or any particular knowledge base regarding
                                              AMc viewership metrics, or viewership metrics
                                              generally, to support his opinion testimony that “a
                                              reasonable person would likely construe the reports
                                              as misleading.” This statement represents only
                                              Stinchfield’s subjective belief and conjecture



 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                                PAGE 25
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 26 of 29 PageID 9085



                                           regarding the “reasonable person” standard he
                                           announces.

  4.    Declaration of Grant Stinchfield Conjecture; Subjective Belief; Lack of Personal
        (ECF 122) ¶ 3:                   Knowledge.

        “…claims       which    seemed     Defendants object to this passage from paragraph 3
        intended to damage the NRA’s       of the Stinchfield Declaration because it represents
        mission from both a financial      only Stinchfield’s subjective beliefs and conjecture
        perspective and from a public      about what AMc “intended.” Stinchfield was the host
        relations perspective.”            of an NRATV program. He was not an executive of
                                           AMc, nor does he state facts to support his personal
                                           knowledge of facts supporting this subjective
                                           opinion.

  5.    Declaration of Grant Stinchfield Conjecture; Factual Conclusion; Lack of Facts
        (ECF 122) ¶ 5:                   Establishing Personal Knowledge.

        “I predicted they would sue me Defendants object to the passage from paragraph 5 of
        for what I was going to say.”    the Stinchfield Declaration because it represents only
                                         Stinchfield’s subjective beliefs and melodramatic
        “I predicted they would, because conjecture, which are not supported by facts alleged
        that is how they act against anywhere else within the Declaration.
        anyone who dares to defy them.

  6.    Declaration of Grant Stinchfield Subjective Belief; Conjecture; Lack of Facts
        (ECF 122) ¶ 6:                   Establishing Personal Knowledge.

        “I am offended that Revan would    Defendants object to this passage from paragraph 6
        accuse me of being coerced         of the Stinchfield Declaration because it merely
        when he knows that I have never    announces Stinchfield’s subjective belief and
        been coerced into anything in my   conjecture regarding what Revan McQueen “knows”
        adult life.”                       about Stinchfield’s ability to be coerced, which
                                           evidences Stinchfield’s lack of personal knowledge
                                           to make this statement. No factual foundation is
                                           provided anywhere within the Declaration that would
                                           support this assertion.

  7.    Declaration of Grant Stinchfield Lack of Facts Establishing Personal Knowledge;
        (ECF 122) ¶ 6:                   Subjective Belief; Unsupported Assertion.

        “Coercion is not something I am Defendants object to this passage from paragraph 6
        susceptible to.”                of the Stinchfield Declaration because it represents
                                        only Stichfield’s subjective belief that his is not
                                        susceptible to being coerced. The facts stated in
                                        support of this subjective belief (that he has run a


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                             PAGE 26
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20               Page 27 of 29 PageID 9086



                                          multi-million dollar business, run for Congress, and
                                          received four Emmy Awards), while impressive, do
                                          not provide the factual foundation for his opinion that
                                          he is impervious to coercion.

  8.    Declaration of Grant Stinchfield Subjective Belief.
        (ECF 122) ¶ 8:
                                         Defendants object to this passage from paragraph 8
        “The suit is shameful, and it of the Stinchfield Declaration because it represents
        appears AMc is using that same nothing but Stinchfield’s subjective opinions that the
        tactic against Brewer.”          defamation lawsuit against him is “shameful” and his
                                         conjecture about AMc’s legal tactics.

  9.    Declaration of Grant Stinchfield Unsupported Assertion.
        (ECF 122) ¶ 12:
                                         Defendants object to this passage from paragraph 12
        “I will not allow foes of the of the Stinchfield Declaration because it contains
        NRA, like AMc, to silence me only bravado, which is an unsupported assertion
        just because they do not like regarding Stinchfield’s general attitude toward this
        what I have to say.”             litigation.

  10.   Declaration of Grant Stinchfield Unsupported Assertion; Subjective Beliefs.
        (ECF 122) ¶ 13:
                                          Defendants object to paragraph 13 of the Stinchfield
        “To be clear, I am not a Declaration because it contains only unsupported
        disgruntled employee, and I was assertions and Stinchfield’s subjective beliefs. The
        proud of the work I did at declaration does not contain any facts to support his
        NRATV. I was always grateful opinion that he was not a “disgruntled” employee or
        for the opportunity to be a voice that he was “proud,” “grateful,” or “sad” as stated.
        for NRA members.             That
        responsibility to the NRA
        members – for the awesome
        responsibility of speaking for
        them – is why I came forward.
        ‘Disgruntled’ is certainly not a
        term I would use to describe my
        emotions. ‘Sad’ is a much better
        description.”

  11.   Declaration of Grant Stinchfield Unsupported Assertion.
        (ECF 122) ¶ 14:
                                         Defendants object to paragraph 14 of the Stinchfield
        “My goal has always been to Declaration because it merely represents
        protect the NRA from any Stinchfield’s subjective assertion regarding his
        actions that could be harmful to professional and personal “goals,” which is
        membership and the NRA’s unsupported by the facts set forth in the Declaration.


 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                              PAGE 27
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20              Page 28 of 29 PageID 9087



        ultimate goal of protecting the
        Second Amendment.”

  12.   Declaration of Grant Stinchfield Lack of Facts Supporting Personal Knowledge;
        (ECF 122) ¶ 15:                  Factual Conclusion; Subjective Belief.

        “I never had a sense that AMc –   Defendants object to the passage from paragraph 15
        under Revan’s leadership –        of the Stinchfield Declaration because it merely
        wanted to work with the NRA or    represents Stinchfield’s subjective beliefs regarding
        even cooperate with them on       AMc and Revan McQueen’s professional intentions
        important issues like budgeting   with regard to the NRA. Stinchfield, as an NRATV
        or messaging.”                    host, does not provide facts which would support any
                                          particular understanding of “budgeting issues” or
                                          “messaging” with regard to the NRA or provide any
                                          explanation about how he would have gained this
                                          type of knowledge regarding AMc’s institutional
                                          intent.



 Dated: June 3, 2020                               Respectfully submitted,


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 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                            PAGE 28
Case 3:19-cv-02074-G-BK Document 143 Filed 06/03/20                 Page 29 of 29 PageID 9088




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically
 served via the Court’s electronic case filing system upon all counsel of record on this 3rd day of
 June 2020:

                                              G. Michael Gruber
                                              G. Michael Gruber




 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S WITNESS DECLARATIONS                               PAGE 29
